UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DEZANNE SULLEN, as natural tutor, econ CIVIL ACTION
on behalf of SHARDAE RENE SULLEN, Rca SSaeeR
SURETTA MOSES, as natural tutor,
on behalf of RENE ALVIN MOSES, TII AND
RENE ALEXANDER, SR.

Plaintiffs * NUMBER :

VERSOS G 5 ua 0 ” S 7

SHERIFI’ HARRY LEE, Jefferson Parish Sheriff,

DEPUTY GUY CROSBY, Jefferson Parish * SECTION:
Sheriff's Office, DEPUTY JASON HIPPLER,

jefferson Parish Sheriff's Office, DEPUTY

JOUN SIMMONS, Jefferson Parish Sheriff's
Office, DEPUTY ARTIE J. DUMESNIL, SRCT. RMAG. 5

Jefferson Parish Sheriff's Office and
ABC INSURANCE COMPANY

* CIVIL RIGHTS
Defendants Under 42 USC
1983 and
1988
OE OR ee ROR BR eK RO ewe ok eek we ee Rooke ee JURY TRIAL

T. JURISDICTION

‘Ls This action is brought pursuant to 42 u.Ss.Cc. 1983 and
1988 and pursuant to the Fourth, Ninth and Fourteenth Amendments of
the United States Constitution. Jurisdiction is founded on 28
U.S.C, Sections 1331 and 1343 and the aforementioned statutory and
constitutional provisions. Plaintiffs further invoke the pendant
jurisdiction of this Court to consider claims arising under state
law. A jury trial is requested.

It. PARTY PLAINTIFF'S

ae Plaintiff Dezanne Sullen, as natural tutor and acting on

behalf of Shardae Rene Sullen, Jr-, the natural and minor daughter

of Rene Alexander, Jr. (deceased), is a person of the full age of
majority and a resident of the Eastern District of Louisiana.

3. Plaintiff Suretta Moses, as natural kutor and acting on
behalf of Rene Alvin Noses, TIt, the natural and minor son of Rene
Alexander, Jr. (deceased), iS a person of the full age of majority
and a resident of the Eastern District of Louisiana.

4. Plaintiff Rene Alexander, Sr. is the father of Rene
Alexander, dr. (deceased) and is a person of the full age of
majority and a resident of the-Eastern District of Louisiana. He
paid for the funeral and burial costs of his son, Rene Alexander,
Jr.

III. PARTY DEFENDANTS

a: Defendant Deputy Guy Crosby is a person of the full age
of majority and a resident of the Eastern District o£ Louisiana.
At all pertinent times herein, he was employed as a deputy with the
Jefferson Parish Sheriff's Office and was acting in the course and
scope of his employment and under color of state law. He is sued
in his individual and official capacity.

6. Defendant Deputy Jason Hippler 15 a person of the full
age of majority and a resident of the Eastern District of
Louisiana. At all pertinent times herein, he was employed as a
deputy with the Jefferson Parish Sheriff's Office and was acting in
the course and scape of his employment and under color of state
law. He is sued in his individual and official capacity.

es Defendant Deputy John Simmons is a person of the full age

of majority and a resident of the Eastern District of Louisiana.
At all pertinent times herein, he was employed as a deputy with the
Jefferson Parish Sheriff's Office and was acting in the course and
scope of his employment and under color of state law. He is sued
in his individual and official capacity.

§. Defendant Deputy Artie J. Dumesnil is a person of the
full age of majority and a resident of the Eastern District of
Louisiana. At all pertinent times herein, he was employed as a
deputy with the Jefferson Parish Sheriff's office and was acting in
the course and scope of his employment and under color of state
law. He is sued in his individual and official capacity.

g. Defendant Sheriff Harry Lee is a person of the full age
of majority and a resident of the Eastern District of Louisiana.
He was the Sheriff of Jefferson Parish at the time of the incident
complained of herein and is the chief law enforcement officer of
the Parish. He was responsible for the training, supervision and
discipline of the defendant deputies Guy Crosby, Jason Hippler,
John Simmons and Artie d. Dumesnil. He was also responsible for
the supervision, administration, policies, practices, customs and
operations of the Jefferson Parish Sheriff's Office, as well as
hiring, training, supervision, discipline and control of deputies
under his command. He is sued in his individual and official
capacity. He is the employer of defendant deputies Crosby,
Hippler, Simmons and Dumesnil and is liable both directly and
vicariously for the actions complained of herein.

10. Defendant ABC Insurance Company is the insurer for the

defendants and at all pertinent times provided insurance for the
acts alleged herein.

11. At all times material throughout this complaint, each of
the defendants was acting under color of state law and in the
course and scope of their employment.

12. At all times pertinent herein the defendants acted
unreasonably and with deliberate disregard for the constitutional
and civil rights and life and safety of the deceased, Rene
Alexander, JT.

IV. STATEMENT OF FACTS

13. On March 13, 1994, Rene Alexander, dr- (deceased) was
standing near the intersection of Barataria Blvd. and Westbank
Expressway after a verbal dispute with his common-law wife, Suretta
Moses. His car was parked nearby and he had his car keys and tape
cassettes in his hand.

14. Deputy Crosby received information from a young white
motorist, Anthony Cheramie, to the effect that Mr. Alexander
appeared to be under the influence of some kind of substance, was
acting erratically, and had approached Mr. Cheramie's car and
attempted to enter the vehicle which was stopped for a light.
There was no complaint that Mr. Alexander was armed or that he had
made any verbal threats to Mr. Cheramie. Deputy Crosby saw Mr.
Alexander standing in the general location pointed out by Mr.
Cheramie and approached him. Upon Deputy Crosby's approach, Mr.
Alexander began to run frantically in circles, waving his hands and
calling for help. Deputy Crosby pursued Mr. Alexander, and

attempted to handcuff him. Mr. Alexander resisted this effort. A
security guard assisted Deputy Crosby in subduing Mr. Alexander and
provided handcuffs. After Mr. Alemander was handcuffed, he
continued to resist, calling for help and expressing fear that he
was in great danger. Other deputies arrived at the scene,
including Deputies Hippler, Simmons and Dumesnil.

15. Deputy Artie J. Dumesnil furnished leq shackles which
were attached to Mr. Alexander, placing him in what is known
variously as "two-point restraint", "four point restraint" or "hog-~
tieing'. The defendant deputies then carried Mr. Alexander and
deposited him in the backseat of Deputy Hippler's car, face down.
Deputy Hippler was alone in the vehicle, driving Mr. Alexander ka
the lock-up. During the course of this drive, Mr. Alexander became
unconscious and was physically removed from the deputy's car at the
Lock-up. He never regained consciousness and was declared dead
shortly thereafter.

16. There was no probable cause for the arrest of Rene
Alexander, JT. The force used to arrest him was unreasonable,
unjustified and excessive. The use of the "two" or “four point
restraint" or "hog-tieing" directly contributed to Mr. Alexander's
death as did the method of transport.

“47. No medical personnel were contacted to provide medical
services to Mr. Alexander until such time as he arrived at the
Lock-up in an unconscious state, despite apparent and obvious signs
at the time of his arrest that he was disoriented and in need of

medical attention.

Vv. FIRST CAUSE OF ACTION

18. Plaintiffs repeat and re-allege each and every allegation
of the complaint.

19. The seecmmeten eeline individually and together, and
under the color of law, engaged in a course of conduct which acted
to deprive the plaintiffs of their constitutional rights and did
deprive them of said rights, specifically, the right to be free
from false arrest, unjust and unreasonable seizure, excessive use
of force, the right to due process of the law and right to family
relationship as protected by the 4th, 9th and 14th Amendments to
the United States Constitution and 42 U.S. Cc. 1983.

20. At all times pertinent herein the defendants acted
unreasonably, recklessly and with deliberate indifference and
disregard for the constitutional and civil rights and life and
safety of the deceased, Rene Rlexander, Jr.

91. Plaintiffs further allege that such acts were the
proximate cause and cause in fact of the death of Rene Alexander,
JI.

VI. SECOND CAUSE OF ACTION

22. Plaintiffs repeat and re-allege each and every allegation
of the complaint.

23, Defendant Sheriff Harry Lee established customs, policies
and practices which directly and proximately caused the deprivation
of the civil and constitutional rights of the plaintiffs as alleged
herein, and the damages and injuries as described.

24. These written and unwritten policies, customs and
practices included, among others:

a. Inadequate and improper training of deputies in the use
of restraints, specifically, the "two" or "£our point" or
“hog tieing" restraining method and in transport of
arrested subjects.

b. Allowing the use of and failing to propagate regulations
prohibiting the use of the "two" or "four point
restraint" or "hog tieing"”, as a method of restraining
arrested subjects.

Ge Inadequate and improper training of deputies to identify
and properly handle individuals who are acting in a
disoriented, erratic or unusual manner and may be under
the influence of alcohol and/or other substances, with
regard to recognition of symptoms, seeking prompt medical
attention and proper transit methods and procedures.

25. Defendant Sheriff Harry Lee knew or should have known
that the use of the "two" or "four point restraint" or “hog-tieing"
-on an arrested subject, particularly when that subject is later
placed on his or her stomach, and when the subject appears to be
disoriented or under the influence of either alcohol oF other
substances, creates an unreasonable and dangerous situation which
can result in the death of the arrested subject.

26. Sheriff Harry Lee had previously been found liable in the
case of Dorothy Williams, et al v. Sheriff Harry Lee, et al, Docket
#: 8689-11943, Civil District Court for the Parish of Orleans, State
of Louisiana, on March 22, 1993, fox the death of Joel C. Williams,
a young man who died as a direct result of "being restrained ina
four point restraint (commonly referred to as “hog-tied"”) by
Jefferson Parish Sheriff's Deputies following his arrest. The
cause of death for Mr. Williams was positional asphyxia (also known
ag positional apoxia), which was known at the time and is known as

a visk of the four point restraint. Despite this eourt judgment

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and this knowledge, Sheriff Harry Lee recklessly and deliberately
failed to take any steps to prevent the death of other persons
similarly situated and the deceased herein by failing to establish
proper rules and procedures prohibiting the use of this restraint
and by failing to properly train deputies in the dangers pnherent
in the use of this restraint under these conditions.

27. On information and belief there have been other incidents
involving death or near death from the use of “hog tieing" arrested
subjects by the Jefferson’~Parish Sheriff's Office, with no
disciplinary or remedial action taken until immediately after Mr.
Alexander's death, when Sheriff Lee ordered the practice to stop.

29. Prior to the death of Rene Alexander, Jr., readily
available literature in the forensic medicine and police training
fields clearly demonstrated the danger of in-custody deaths with
the use of hoq tieing arrested subjects, placing them on their
stomachs, failing to provide medical treatment at the scene of
arrest and transport of the arrested subject without proper
supervision. The death of Fene Alexander, Jr. was foreseeable and
avoidable by Sheriff Lee who nevertheless deliberately failed to
take appropriate steps to stop this practice.

29. Sheriff Harry Lee acted willfully, maliciously, and
wantonly in failing to take appropriate steps to prohibit the use
of this restraint device through establishing regulations and
proper training af deputies.

30. At all times pertinent herein the defendants acted

unreasonably, recklessly and with deliberate indifference and

disregard for the constitutional and civil rights and life and
safety of the deceased, Rene Alexander, JY.

31. Plaintiffs further allege that such acts were the
proximate cause and comers ty fact of the injuries as described
herein.

VIL. ‘THIRD CAUSE OF ACTION

32. The pendant jurisdiction of the Court is invoked for all
claims under state law.

33. Plaintiffs repeat and re~allege each and every allegation
of the complaint.

a4. The defendants were acting in the course and scope of
their employment with Jefferson Parish Sheriff Lee and the
Jefferson Parish Sheriff's Office respectively, and the defendant
Sheriff Harry Lee is vicariously liable fox the injuries and
damages incurred herein.

35. The defendant, Sheriff Harry Lee is liable jointly,
severally and in solido with defendants Guy Crosby, Jason Hippler,
John Simmons and Artie J. Dumesnil for the wrongs complained of
herein by virtue of encouraging, aiding, abetting, counseling and
condoning the commission of the aforedescribed acts and by his
failure to properly screen, train, supervise and discipline these
defendants.

36. Plaintiffs further allege that the foregoing actions of
the defendants were negligence, gross negligence, and intentional
torts in violation of the laws of the State of Louisiana for

wrongful death and in violation of Article 1, Sections 2 and 5 of
the Louisiana Constitution and Louisiana Civil Code Article 2315,
amang others to be shown at trial.

37. Plaintiffs further allege that these actions were the
proximate cause and cause in fact of the injuries and damages o£
the plaintiffs.

VIII. DAMAGES

38. As a result of the actions of the defendants as described
above, damages have been incurred as follows:

a. Rene Alexander, Jr-- (deceased) suffered conscious and
severe physical and emotional pain, fear and suffering prior to
death and lost his life.

b. Shardae Rene Sullen, the minor daughter of the deceased,
has suffered the loss of love, companionship, consortium, affection
and guidance as a result of the death of her father.

c. Rene Alvin Moses, III, the minor son of the deceased, has
suffered the loss of love, companionship, consortium, affection and
guidance as a result of the death of his father.

d. Mr. Rene Alexander, Sr. sustained damages for the funeral
and burial costs to bury his son Rene Alexander, Jr.

e. Punitive damages against the defendant Sheriff Harry Lee.

IX. PRAYER FOR RELIEF

WHEREFORE, plaintiffs pray that after due proceedings be had
there be judgment rendered herein in plaintiffs’ favor and against
all defendants individually, severally, jointly, and in solido as
follows:

Ts Compensatory and punitive damages as prayed for herein;

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Ase

Reasonable attorneys fees, all costs of these proceedings

and legal interest;

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That this matter be tried by jury; and

All other relief that this Honorable Court deems just and

equitable.

PET&ANS :

Respectfully submitted,

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BR ud
a =. HOWELL, #7030

HOWPLL & SNEAD

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COMPLAINT. RA

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